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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


RANDOLPH SMIROLDO,

      Plaintiff,

v.                                            Case No. 3:17-cv-1035-J-32PDB

CALIBER HOME LOANS, INC.,

      Defendant.




                                   ORDER

      Upon review of Joint Stipulation of Dismissal With Prejudice (Doc. 20),

filed on February 22, 2018, this case is dismissed with prejudice. Each party

shall bear its own attorneys’ fees and costs. The Clerk should close the file.

      DONE AND ORDERED in Jacksonville, Florida this 23rd day of

February, 2018.




sj
Copies:

Counsel of record
